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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


                              USA                              )
                             Plaintiff                         )
                                v.                             )      Case No. 1:21-mj-00042-RMM
                      Klete Derik Keller                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Klete Derik Keller                                                                                             .


Date:          1/14/2021                                                               /s/ Danny C. Onorato
                                                                                         Attorney’s signature


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